AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District
                                                   __________  DistrictofofWisconsin
                                                                            __________

                     Stephen P. Kotecki                              )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 20-cv-1922-bhl
              Costco Wholesale Corporation                           )
                            Defendant                                )

                                             JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

u the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of             % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other:
u              Pursuant to the Court's Order, this action is dismissed under Fed. R. Civ. P. 37 and/or Fed. R. Civ. P. 41.

                                                                                                                                     .

This action was (check one):

u tried by a jury with Judge                                                                          presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge              Brett H. Ludwig                                                on DPRWLRQ for
      dismissal.
                                                                                                                                     .

Date:        December 6, 2022                                               CLERK OF COURT


                                                                                 Julie D.
                                                                                          Signature of Clerk or Deputy Clerk




                      Case 2:20-cv-01922-BHL Filed 12/06/22 Page 1 of 1 Document 43
